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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                               :
In re:                                                         : Chapter 11
                                                               :
Woodbridge Group of Companies LLC., et al.,1                   : Case No. 17-12560 (KJC)
                                                               :
                  Debtors.                                     : (Jointly Administered)
                                                               :
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                             NOTICE OF WITHDRAWAL OF COUNSEL

                  PLEASE TAKE NOTICE that the law firms of Milbank, Tweed, Hadley &

McCloy LLP, and Morris, Nichols, Arsht & Tunnell LLP, hereby withdraw as counsel for the

Joinder Noteholder Group, effective as of January 23, 2018, the date the Court entered the

Order Approving the Consensual Resolution of (A) Motion of the Ad Hoc Committee of Holders

of Promissory Notes of Woodbridge Mortgage Investment Fund Entities and Affiliates Directing

the Appointment of an Official Committee of Noteholders, (B) Emergency Motion of Official

Committee of Unsecured Creditors for Entry of an Order Directing the Motion by the U.S.

Securities and Exchange Commission for Order Directing the Appointment of a Chapter 11

Trustee, (D) Joinder of Additional Noteholders to Motion of the Ad Hoc Committee of Holders of

Promissory Notes of Woodbridge Mortgage Investment Fund Entities and Affiliates Directing the

Appointment of an Official Committee of Noteholders, and (E) Motion of the Ad Hoc Committee

of Unitholders of Woodbridge Mortgage Investment Fund Entities Directing Appointment of an

Official Committee of Unitholders (D.I. 357) (the “Settlement Order”).

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         The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
California 91423. A complete list of the Debtors, the last four digits of their federal tax identification numbers, and
their addresses may be obtained on the website of the Debtors’ claims and noticing agent at
www.gardencitygroup.com/cases/WGC.
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Dated: January 24, 2018            MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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